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Counsel for Plaintiffs and the Putative Class


                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH



 KRISTIN PILKINGTON, individually and on STIPULATED MOTION TO EXTEND
 behalf of all others similarly situated, BRIEFING SCHEDULE ON
                                          AMENDED MOTION TO DISMISS
                         Plaintiffs,      (ECF NO. 18)
         v.
                                                        Case No. 2:24-cv-00434-RJS-DBP
 GORSUCH, LTD.
                                                        Chief Judge Robert J. Shelby
                             Defendant.                 Magistrate Judge Dustin B. Pead



                                          STIPULATED MOTION

        By and through counsel, Plaintiff Kristin Pilkington and Defendant Gorsuch, LTD.

respectfully file this Stipulated Motion to Extend Briefing Schedule on Amended Motion to

Dismiss Under Fed. R. Civ. P. 12(b)(1) or to Transfer Pursuant to 28 U.S.C. § 1404(a), on

10/07/2024 (ECF No. 18) (the “Motion”), and state as follows:

        Relief requested: The parties request that the briefing schedule for the response and reply

on the Motion be extended, s follows: (1) the deadline to file a memorandum in opposition to the

Motion be extended to, and including, November 12, 2024, and (2) the deadline to file a reply
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memorandum in further support of the Motion be extended to, and ionmcluding, December 3,

2024.

        Grounds: The parties agree that, based on the amendment of the original motion, the fact

that the time for filing a memorandum in opposition to the Motion has not passed, and the

agreement of all parties that good cause exists for the requested extension of the time for filing the

response to the Motion and reply in further support of the Motion, such that the relief sought by

the Motion should be granted. A proposed form of order is attached hereto.

        Dated: October 31, 2024.

                                                      GORDON REES SCULLY
                                                      MANSUKHANI, LLP


                                                      /s/ David R. Garner
                                                      DAVID R. GARNER (16054)
                                                      Counsel for Gorsuch, LTD.
                                                      (signed by filing attorney with permission of
                                                      Gorsuch, LTD’s attorney)



                                                      PETERS ❘ SCOFIELD
                                                      A Professional Corporation


                                                      /s/ David W. Scofield
                                                      DAVID W. SCOFIELD
                                                      Counsel for Plaintiff and the Putative Class




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